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Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

For Witness: D any Kas ook Juror Questioning

Procedure

Question: UM oO + A Oo es 1 Please write your question
VA \ \ loe a in a clear and legible manner.
\ \ Ov - M. 2. Your question must be.
\ yx SV? submited ip writing and using
wee to identify yourself in ony way on
\ — . the form.
Wnoatk iS “LAM 2a 3. The Judge will make a

determination whether or not
the question is proper. The
Judge will use the same
standards that are applied to
questions offered by attorneys.
Existing rules of law, evidence,
and procedures apply to every
question that is asked.

 

 

 

 

 

4. The Judge may need to
modify the question to make it
conform to legal standards or to
make the question clearer to the
witness.

 

 

 

5. If the question can be
asked, the Judge will read it to
the witness at an appropriate
time before the witness is
excused.

 

 

 

 

 

If additional space is needed, please use the back of this form.

ho oo bk het he eee REEL For: Please do not mark below this Dime 8% 8 8% He oe ae oe We ae dee ee de ee

 

Question No. t

ACTION BY THE COURT: DU fermitted
LC) Denied

“we Cee nhs O Rephrased

 

 

 
